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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
                         TRENTON DIVISION


  CHRISTINE JANKOWSKI, et al,                  DOCKET NO.: 3:20-cv-2458-
                                               MAS-TJB
                          Plaintiffs,
                                            Judge: Michael A. Shipp
         v.
                                            Magistrate Judge: Tonianne J.
   ZYDUS PHARMACEUTICALS USA,               Bongiovanni
   INC. and DOES 1-50, Inclusive.,

                          Defendants.




         ZYDUS PHARMACEUTICALS USA, INC.’S REPLY BRIEF
          IN FURTHER SUPPORT OF ITS MOTION TO DISMISS
             PLAINTIFFS’ SECOND AMENDED COMPLAINT
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       Zydus Pharmaceuticals USA, Inc. (“Zydus”) submits this Reply Brief in

 further support of its Motion to Dismiss Plaintiffs’ Second Amended Complaint

 (“SAC”) against Zydus.

       Plaintiffs have now abandoned the causes of action for failure to warn based

 on a failure to distribute the medication guides and fraud. Having accepted that the

 label and warnings approved by the FDA were adequate, plaintiffs seek to provide

 life support for their complaint arguing that Zydus is liable for failing to provide 220

 or more prescribing physicians with warnings about amiodarone.

       Plaintiffs’ prior opposition to Defendant’s Motion to Dismiss plaintiff’s first

 amended complaint (“FAC”) (Dkt 17), argued that Zydus failed to warn in failing to

 provide consumer warnings – medication guides – to the plaintiffs, pharmacies, and

 physicians. See Pltf Opp, Dkt 17, at 1-3. Plaintiffs only reference their physicians

 was associated with an allegation that Zydus failed to provide, and properly

 distribute, medication guides, and that Zydus failed to report all adverse events to

 the FDA. Id.

       In support of this newly crafted argument, plaintiffs contend that Zydus had

 no amiodarone label/warning in the third-party resource known as the Physician

 Desk Reference (“PDR”) and further that Zydus failed to communicate the entirety

 of the amiodarone label/warnings to physicians.




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       I.     Plaintiffs Fail to Overcome the Rebuttable Presumption that the
              Warning was Adequate

       It is well-settled in New Jersey that a “pharmaceutical warning is presumed to

 be adequate as a matter of law if it is FDA-approved.” Nelson v. Biogen Idec, Inc.,

 No. CV127317JMVMF, 2018 WL 1960441, at *9 (D.N.J. Apr. 26, 2018). Under

 the New Jersey Product Liability Act, which subsumes all actions for product

 liability, if a drug warning is FDA-approved, it creates a rebuttable presumption that

 the warning or instruction is adequate. N.J. STAT. ANN. 2A:58C–4.

       Plaintiffs do not dispute that the content of Zydus’ amiodarone warning label

 was adequate. See Pltf. Opp., at 2 (“Plaintiffs do not allege that Defendant should

 have changed the FDA warning at all.”). To overcome the rebuttable presumption,

 a plaintiff asserting a failure to warn claim based on an inadequate warning must

 plead specific factual allegations of “deliberate concealment or nondisclosure of

 after-acquired knowledge of harmful effects,” or “manipulation of the post-market

 regulatory process.” See Rowe v Hoffman-La Roche, Inc., 189 N.J. 615, 626 (2007);

 Perez v. Wyeth Labs., Inc., 161 N.J. 1, 24 (1999); McDarby v. Merck & Co., 401

 N.J. Super. 10, 62 (App. Div. 2008). Plaintiffs have not pled any specific allegations

 about Zydus’ conduct other than speculative and generalized allegations that the

 warnings were not published in the PDR and Zydus “misled” physicians into

 believing amiodarone could be prescribed for atrial fibrillation.




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       Plaintiffs cannot overcome the rebuttable presumption established under New

 Jersey law, and as a result, Zydus’ warnings must be deemed adequate as a matter

 of law.

       II.     As a Matter of Law, Adequacy of the Warning Does Not Require
               Proof that the Manufacturer Directly Provided Label Warnings
               to Physicians

       There is no dispute that this jurisdiction has adopted the learned intermediary

 doctrine with respect to the manufacturer’s duty to warn. Niemiera v. Schneider, 114

 N.J. 550, 559 (1989). In Niemiera, the New Jersey Supreme Court recognized that a

 pharmaceutical manufacturer discharges its duty to warn the user of prescription

 drugs by making available prescription information, i.e., the label, to the prescribers

 who are in the best position to exercise medical judgment and inform the patient. Id.

 at 559-561.

       The prescribing physician is under an obligation to disclose to a patient all

 material information that a “prudent patient” might find significant for a

 determination whether to undergo the proposed therapy. Largey v. Rothman, 110

 N.J. 204, 211-212 (1988). It is the doctor who needs to educate himself or herself on

 the drug and convey this knowledge to the patient prior to prescribing the drug,

 pursuant to the medical standard of care.

       For this reason, a manufacturer that provides a proper and adequate warning

 “may reasonably assume that the physician will exercise his informed judgment in



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 the patient’s best interests.” See, In re Accutane Litigation, No. 271, 2016 WL

 5958375 at *5 (N.J. Super. Law Div. Oct. 12, 2016).

       There is no dispute in this action that Zydus had an FDA approved warning.

 Nor is there any dispute that the brand or the other many generic versions of

 amiodarone had adequate warning.

       The legal viability of the SAC is now founded on plaintiffs’ argument that

 Zydus did not fulfill its duty to “provide” an adequate warning absent directly

 communicating the label warnings to the plaintiffs’ prescribing physicians and that

 these physicians had inadequate information regarding the drug, i.e., that it had not

 been approved by the FDA for treatment of atrial fibrillation.

       However, in constructing this legal fiction, the SAC and opposition to this

 motion assert contradictory allegations. On one hand, plaintiffs contend that Zydus

 never placed warnings for amiodarone in a reference resource for physicians (the

 “PDR”) for amiodarone from 2008 to 2016 and that the prescribing physicians

 received no warnings, but then alleged “the prescribing physicians read and relied

 on the PDR, Epocrates app or other prescribing reference sources in prescribing

 Amiodarone to Plaintiffs”. See Pltf Opp., at 6; see also Pltfs SAC ¶ 201.

       The plaintiffs’ construction of the word “provide” is impractical and

 unreasonable and without any legal foundation in either decisional or statutory law.

 As a matter of law, the defendant’s obligation as a drug manufacturer is fulfilled by



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 having an FDA-approved label.        It is the learned intermediary – the medical

 community – in fulfilling its standard of care, that must exercise its judgment and

 avail itself of the information in the public domain to educate itself regarding a drug

 prior to providing a patient with a prescription.

       Once a drug is FDA-approved, the FDA requires that the prescribing

 information is distributed with the drug product or package from which a

 prescription drug is to be dispensed. See 21 CFR 201.100(c)(1). Plaintiffs have not

 alleged that the package inserts did not include the appropriate warnings nor that

 they were not distributed with the drug product.

       Plaintiffs contend that even though Zydus provided its warning through

 package inserts with the medication, it was insufficient because package inserts were

 shipped with the medication and physicians would not typically receive the actual

 medication. The fact of the matter is, Zydus complied with the law. Zydus distributed

 its FDA-approved warnings, with its drug product pursuant to the law. Compliance

 with FDA regulations in having an FDA-approved label provides “compelling

 evidence that the manufacturer satisfied its duty to warn the physician.” Perez v.

 Wyeth Lab. Inc., 161 N.J. 1, 24, 734 A.2d 1245 (1999).

        The New Jersey Supreme Court held that “[t]he decision to prescribe a

 particular drug ultimately is a matter of judgment for the physician. In addition to

 considering the individual patient, the physician may consider all available



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 information concerning a drug. The information may include the manufacturer's

 inserts and PDR warnings, as well as medical journals, advice from colleagues, and

 the physician's own experience.” Morlino v. Medical Center of Ocean County, 152

 N.J. 563, 581 (1998). The Court further held that package inserts and the PDR alone

 do not establish the standard of care for physicians. Id. at 580. “[A] physician's

 failure to adhere to PDR warnings does not by itself constitute negligence.” Id. “To

 confine the treatment choices to those expressly permitted in the PDR would be too

 restrictive. Such an approach also would be inconsistent with the FDA's position that

 physicians are not bound by PDR recommendations.” Id. at 581.

       “After a drug has been on the market for a sufficient period of time, moreover,

 physicians may rely more on their own experience and the professional publications

 of others than on a drug manufacturer's advertisements, inserts, or PDR entries.” Id.

 at 580.

       There is no allegation that any physician prescribed “Zydus amiodarone.”

 Whether the plaintiffs or their family members received a Zydus form of amiodarone

 would only have been a consequence of what the dispensing pharmacy had in their

 inventory. It is unreasonable to impose a duty on Zydus to warn prescribing

 physicians writing generic prescriptions for amiodarone (divorced from any

 reference to a Zydus product) based on the patients post prescription receipt from

 their dispenser of a Zydus version of the product.



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       Plaintiffs’ effort to assert that Zydus had a legal duty to provide the prescribers

 with an amiodarone warning also relies on a false premise – that the physicians had

 no legal duty to inform themselves about the drug and had no recourse to the

 necessary information regarding amiodarone. The assumption is that without

 receiving a label in hand, the physicians could not avail themselves of a warning.

       In opposition plaintiffs rely on one outlier decision from a Minnesota state

 trial court, applying Minnesota law, which has no precedential effect on this Court.

 Walsh v. Upsher-Smith Labs., Inc., 2021 Minn. Dist. LEXIS 430, *19 (Oct. 4, 2021).

 The Court in Walsh relied on and misinterpreted an 8th Circuit decision. In Schedin

 v. Ortho-McNeil-Janssen Pharms, Inc., 700 F.3d 1161, 1167 (8th Cir. 2012), the 8th

 Circuit held that a jury could determine whether a pharmaceutical company’s

 method of communicating FDA warnings was sufficient. However, as the Circuit

 Court had noted, Minnesota law differed from many jurisdictions because the law

 had not addressed whether a package insert insulated a drug manufacturer from a

 failure to warn claim. In stark contrast, New Jersey law employs a rebuttable

 presumption that the drug warning labels are adequate if they are FDA-approved.

 Additionally, Schedin dealt with a brand manufacturer that had changed its

 warnings. Liability focused on whether new warnings were communicated to the

 doctors. Id. In the case at bar the warnings at issue are not new warnings but the

 same warnings that were FDA-approved for the brand manufacturer’s label in 1985.



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       Plaintiffs have not alleged that their prescribing physicians only relied upon

 Zydus for a warning – out of over a dozen other amiodarone manufacturers, plus the

 brand, Cordarone®. As stated in defendant’s memorandum of law, there are over a

 dozen generic manufacturers of amiodarone and a brand manufacturer of

 Cordarone® that have the exact same label/prescribing information. See Defendant’s

 Memorandum of Law, Dkt 36, at Exhibit H. The SAC is fatally deficient because

 plaintiffs do not allege that all Amiodarone or Cordarone® labels were unavailable

 in the public domain.

       Plaintiffs, therefore, ask this Court to accept a fiction that these physicians

 were unaware of the label warnings from public domain sources typically relied

 upon by the medical community to satisfy its standard of care in prescribing

 medications.

       No database, desk reference, web site (including the FDA websites) relied on

 Zydus to publicly provide the warning. Physicians do not need to only obtain a

 package insert from a Zydus amiodarone vial since they are not prescribing Zydus

 amiodarone – they are simply prescribing generic amiodarone which could be

 supplied by a dozen different manufacturers.

       There is an absurdity to plaintiffs’ contentions when considered in the context

 of a drug with over a dozen manufacturers publishing the exact same warnings. The

 warnings associated with Amiodarone/Cordarone®, have been FDA-approved and



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 available for physician review for over thirty years.                         Zydus was not the lone

 manufacturer of a new drug. Zydus’ approval to market amiodarone was in 2008.

 The brand was approved in 1985 and by the time of the earliest of the plaintiffs’

 prescriptions, amiodarone had been on the market as distributed by either the brand

 manufacturer or other generic manufacturers.

         In opposition plaintiffs rely on their representation that the PDR failed to

 include a “Zydus” amiodarone label or warning. As noted above, the amiodarone

 warning is not unique to Zydus, it is a generic warning the plaintiffs glaringly omit

 never addressing that there is a generic warning available to the prescribing

 community for physicians to fulfill their standard of care.

         Plaintiffs do not cite state or federal law that would require a pharmaceutical

 drug’s prescribing information be published in the PDR, or that the failure to do so

 is actionable. The PDR is an available third-party resource for physicians to access

 prescribing information. The PDR site does not identify Amiodarone by each

 individual manufacturer. Rather, it publishes one drug summary and label for each

 drug that has been approved by the FDA.1 The publication in the PDR is not specific

 to Zydus, nor is it controlled by any statutory rule. As a result, this fact does not




 1 See PDR       website at https://www.pdr.net/drug-summary/Amiodarone-Hydrochloride-Injection-amiodarone-
 hydrochloride-3234.8358 (last visited October 27, 2021). The Court may take judicial notice of public records and
 government websites in deciding a Motion to Dismiss. See Fed. R. Evid. 201.


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 control whether Zydus’ warnings were adequate and communicated appropriately,

 as a matter of law.

       There are over 20,000 prescription drug products approved by the FDA in the

 United States.2 Plaintiffs presume that every doctor in the country should be

 personally receiving over 20,000 different drug labels, whether or not they prescribe

 the medication in their own practice.

       It should be noted that the New Jersey Model Civil Jury Charges for a failure

 to warn claim indicates that a product is defective if the product “fails to contain an

 adequate warning or instructions.” Model Jury Charge (Civil) 5.40C. There is no

 requirement in the Model Jury Charges to directly warn patients and physicians.

 Even where the Model Jury Charges explains that “[i]n the case of prescription

 drugs, the warning must be one that a reasonable prudent manufacturer would have

 provided to adequately communicate information on the dangers and safe use of the

 product to physicians,” the charge is not adding a requirement to directly warn

 physicians and patients, but defining an adequate warning under the law (i.e. one

 that communicates sufficient information to physicians). Id.

       Moreover, plaintiffs wrongly imply that off-label for atrial fibrillation is per

 se tortious. This ignores the surplus of medical research, clinical trials, reports,




 2 See U.S. Food & Drug Administration Fact Sheet: FDA at a Glance, updated November 2021.
 https://www.fda.gov/about-fda/fda-basics/fact-sheet-fda-glance


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 journals and the medical standard of care surrounding the use of amiodarone for

 atrial fibrillation. “Off label” use for the treatment of atrial fibrillation was within

 the Clinical Practice Guidelines for the “Management of Patients with Atrial

 Fibrillation,” published by the American College of Cardiology, the American Heart

 Association, and the Heart Rhythm Society before Zydus received FDA approval in

 2008.3 These guidelines are based on medical professionals analyzing clinical data,

 conducting clinical trials and studies, cases studies, consensus opinion of experts,

 and the standard of care.

        It is unreasonable and impractical (and without any legal support) to ask this

 Court to create an actionable claim against a generic product manufacturer for failing

 to expressly notify each physician in the United States of label information. It invites

 in this case over a dozen mailings by manufacturers of the same drug. It ignores the

 fact that there is no direct relationship between the physician and the generic

 manufacturer, nor is one alleged. Most importantly, it is unsupported by any legal

 precedent.




 3 See 2006 and 2014 AHA/ACC/HRS Guideline for the Management of Patients with Atrial Fibrillation at
 https://www.ahajournals.org/doi/10.1161/CIRCULATIONAHA.106.177292; 2014 AHA/ACC/HRS Guideline for
 the Management of Patients With Atrial Fibrillation | Circulation (ahajournals.org).


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         III.     Zydus’ Amiodarone Warnings Are Deemed Published When the
                  FDA Approves it Drug.

         Under the U.S. Code of Federal Regulations, once a generic drug is approved,

 the Secretary of Health and Human Services shall, every thirty days, “revise the list

 to include each drug which has been approved for safety and effectiveness”. See 21

 U.S.C. 355 (j)(7)(A)(ii). The regulation further states that a drug approved for safety

 and effectiveness, shall be considered “published” on the date of its approval. See

 21 U.S.C. 355 (j)(7)(B). “The Secretary shall post on the Internet Web site … the

 approved professional labeling and any required patient labeling of a drug approved

 under this section or licensed under such section 262 not later than 21 days after the

 date the drug is approved or licensed, including in a supplemental application with

 respect to a labeling change.” See 21 U.S.C. 355 (r)(3).

         The federal regulations specifically provided that as of September 2007,

 before Zydus’ amiodarone was approved, the FDA would supply all drug

 information electronically on its web site to improve communication of drug safety

 information. 4



 4 (r)   Postmarket drug safety information for patients and providers
         (1)      Establishment
                  Not later than 1 year after September 27, 2007, the Secretary shall improve the transparency of
                  information about drugs and allow patients and health care providers better access to information
                  about drugs by developing and maintaining an Internet Web site that--
         (A) provides links to drug safety information listed in paragraph (2) for prescription drugs that are approved
         under this section or licensed under section 262 of Title 42; and
         (B) improves communication of drug safety information to patients and providers.
         (2) Internet Web site
         The Secretary shall carry out paragraph (1) by--


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         The information published on these web sites includes patient labeling, patient

 package inserts, medication guides, recent safety information and alerts about the

 drug, product recalls, warning letters, guidance documents, among other pertinent

 documents. See 21 U.S.C. 355 (r)(2)(B).                       Not only is the label information

 distributed in hard copy with the medication itself, pursuant to 21 CFR

 201.100(c)(1), but the FDA has a procedure for making every FDA-approved drug’s

 labeling available electronically. Zydus’ label has been published on federally run

 websites like DailyMed for over a decade. See MOL, fn 12.

         Additionally, FDA Guidance documents explain this process. Upon FDA-

 approval of a prescription drug, the approved written warnings are published by the

 FDA in the “Approved Drug Products With Therapeutic Equivalence Evaluations”

 also referred to as the “Orange Book.”5 The Orange Book is updated on a monthly

 basis (electronic version is updated on a daily basis) to include newly approved

 drugs, or remove drugs that have been withdrawn from the market. Id. When

 prescription drugs are approved by the FDA, they are made available on an FDA




         (A) developing and maintaining an accessible, consolidated Internet Web site with easily searchable drug
         safety information, including the information found on United States Government Internet Web sites, such
         as the United States National Library of Medicine's Daily Med and Medline Plus Web sites, in addition to
         other such Web sites maintained by the Secretary…

 5 Orange Book, Questions and Answers, Guidance for Industry, U.S. Department of Health and Human Services,
 Food and Drug Administration, May 2020, https://www.fda.gov/media/138389/download


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 website called Drugs@FDA.6 “In addition, FDA facilitates the availability of up-to-

 date drug prescribing information in an easily accessible electronic format on the

 National Library of Medicine Web site at DailyMed.” Id. at 7.

         A manufacturer’s duty to provide warnings and instructions for use to

 prescribers is satisfied with FDA approval of a label and incorporation of the label

 in the package insert. The prescribing information is further communicated by its

 publication on various governmental websites (such as the Orange Book, PDR,

 DailyMed and Drugs@FDA).

         IV.      Plaintiffs Failed to Plead Claims to Survive FRCP 8(a)(2)

         An allegation of off label promotion is not an actionable tort unless it is a

 misstatement, a misrepresentation, or a fraud. Plaintiffs have abandoned allegations

 or causes of action of fraud. While plaintiffs cite instances of brand manufacturer

 and third-party application purported misrepresentations, there is no allegation of

 any specific misrepresentations about Amiodarone by Zydus.

         Plaintiff provides no specific factual allegations that would rise to the level of

 a claim under the federal rules. A pleading must have factual and evidentiary support

 (FRCP 11(b)(3)) and if such factual contentions are lacking, federal rules require

 dismissal. FRCP 8(a). Dismissal is warranted if a complaint merely contains “naked



 6 Drug Safety Information – FDA’s Communication to the Public, U.S. Department of Health and Human Services,
 Food and Drug Administration, March 2012, https://www.fda.gov/files/drugs/published/Drug-Safety-Information----
 FDA%27s-Communication-to-the-Public.pdf; see also, https://www.accessdata.fda.gov/scripts/cder/daf/


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 assertions devoid of further factual enhancement,” Ashcroft v. Iqbal, 556 U.S. 662,

 678 (2009).

       Over two hundred plaintiffs are unable to identify one instance of Zydus

 misrepresenting the uses and risks of amiodarone, citations or sanctions by the FDA

 over the last eleven years for failing to publish its label/warnings, or one physician

 that confirms they cannot, and have never been able to, access Zydus’ amiodarone

 warnings. Plaintiffs do not allege a single instance in which Zydus engaged in any

 misleading or deceiving behavior, nor do they plead any facts to support a conspiracy

 to promote off-label use of amiodarone.

       V.      CONCLUSION

       For the foregoing reasons, Zydus respectfully requests that this Court dismiss

 Plaintiffs’ Second Amended Complaint under Fed R. Civ. P. 12(b)(6) and 8(a).

 Because any potential amendment would be futile and subject to dismissal for the

 same reasons, Zydus requests dismissal with prejudice and without leave to amend.




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  Dated: December 17, 2021       Respectfully submitted,

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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing ZYDUS

 PHARMACEUTICALS USA, INC.’S REPLY BRIEF IN FURTHER

 SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ SECOND

 AMENDED COMPLAINT has been served this 17th day of December, 2021, on

 the following counsel, via the Court’s ECF by electronic mail on the following:

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